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                        UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                              CR. 20-50095-JLV

                    Plaintiff,
                                                   PRELIMINARY ORDER OF
     vs.                                                FORFEITURE
CODY WAYNE HOPKINS,

                    Defendant.


      Upon motion of the plaintiff for a preliminary order of forfeiture, the

court finds:

      1. As the result of the guilty verdict to the indictment, for which the

government sought forfeiture pursuant to 18 U.S.C. § 2428, defendant shall

forfeit to the United States one Google cellular telephone, Verizon SIM and

ICCID 89148000004442173723.

      2. Based on the defendant’s consent and plea agreement, the

defendant has an interest in the above property, the property is subject to

forfeiture pursuant to 18 U.S.C. § 2428 , the government has established

the requisite nexus between the property and the offense, and the above-

described property is property used or intended to be used to commit the

offense described in the indictment to which the defendant pled guilty.

United States v. Beltramea, 785 F.3d 287 (8th Cir. 2015).

      Accordingly, it is

      ORDERED
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      1. Upon the entry of this order, the United States is authorized to

seize the above property for forfeiture, whether held by the defendant or by a

third party, and to conduct any discovery proper in identifying, locating or

disposing of the property subject to forfeiture in accordance with Fed. R.

Crim. P. 32.2(b)(3).

      2. Upon the entry of this order, and pursuant to Fed. R. Crim. P.

32.2(b)(6) and Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

and Maritime Cases, the United States shall post to www.forfeiture.gov, for a

period of thirty (30) consecutive days, notice of this order, notice of the

United States’ intent to dispose of the property according to law, and notice

that any person, other than the defendant, having or claiming a legal

interest in any of the above-listed forfeited property must file a petition with

this court within thirty (30) days of the final publication of notice or receipt

of actual notice, whichever is earlier.

      3. Further, the notice shall state that the petition shall be for a

hearing to adjudicate the validity of the petitioner’s alleged interest in the

property, shall be signed by the petitioner under penalty of perjury, and

shall set forth the nature and extent of the petitioner’s right, title or interest

in the forfeited property, and any additional facts supporting the petitioner’s

claim and the relief sought.

      4. The United States may also, to the extent practicable, provide direct

written notice to any person known to have alleged an interest in the


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property identified above as a substitute for published notice as to those

persons so notified.

      5. Upon adjudication of all third-party interests, this court will enter

a final order of forfeiture.

      Dated January 26, 2023.

                               BY THE COURT:

                               /s/ Jeffrey L. Viken
                               JEFFREY L. VIKEN
                               UNITED STATES DISTRICT JUDGE




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